                       Case 4:17-cr-00298-BSM                       Document 347            Filed 12/17/18        Page 1 of 3
AO 245B (Rev. 02/18)   Judgment in a Criminal Case
                                                                                                                           FILED
                                                                                                                        U.S. DISTRICT COURT
                       Sheet I                                                                                      EASTERN DISTRICT ARKANSAS

                                                                                                                        DEC 17 2018
                                          UNITED STATES DISTRICT COU~:fMcs w.                                                     R     CK, CLERK
                                                            Eastern District of Arkansas             By:---1--A--1--\o--=-r.-=~
                                                                         )
                UNITED STATES OF AMERICA                                 )
                                   v.                                    )
                                                                         )
                ANTONIO SANCHEZ FUENTES                                         Case Number: 4:17CR00298-013 BSM
                                                                         )
                                                                         )      USM Number: #31830-009
                                                                         )
                                                                         )       Leonardo Monterrey
                                                                         )      Defendant's Attorney
THE DEFENDANT:
!ill pleaded guilty to count(s)         1 of the Superseding Information
D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                           Offense Ended              Count

1
. . .1_a_u_.s_._c_.4_ _ _ ___.l!,__M_i_sp_n_·si_on_of_a_F_e_1o_ny_ _ _ _ _ _ _ _ _ _ ___.ll,_a_121_2_0_1_1_ _ ___.II~1-----.

._______ ____,.___ _ _ _ _ _ _____.._ ____.I._I____.
       The defendant is sentenced as provided in pages 2 through                   3         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
!ill Count(s)    1 of Superseding Indictment             li!1' is     Dare dismissed on the motiori of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 gays of anx change ofname, residence,
or mailing_ address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material clianges in econonuc circumstances.

                                                                             12/17/2018




                                                                            Signature of Judge




                                                                            Brian S. Miller, U.S. District Judge
                                                                            Name and Title of Judge




                                                                            Date
                      Case 4:17-cr-00298-BSM                Document 347           Filed 12/17/18         Page 2 of 3
AO 245B (Rev. 02/18) Judgment in Criminal Case
                     Sheet 2 - Imprisonment
                                                                                                    Judgment-Page _..;;;;;2_ of   3
 DEFENDANT: ANTONIO SANCHEZ FUENTES
 CASE NUMBER: 4:17CR00298-013 BSM

                                                           IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:
  Time served with no supervised release to follow. If defendant is deported, he is reminded that he must not illegally return to
  the United States.



     D The court makes the following recommendations to the Bureau of Prisons:




     lil1 The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
           D                                                  D p.m.
               at
                    - - - - - - - - - D a.m.                              on

           D as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D   before 2 p.m. on

           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




           Defendant delivered on                                                      to

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                 UNITED STAIBS MARSHAL



                                                                         By---------------------
                                                                                            DEPUlY UNITED STAIBS MARSHAL
                       Case 4:17-cr-00298-BSM                 Document 347            Filed 12/17/18         Page 3 of 3
AO 245B (Rev. 02/18) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                         Judgment-Page    3    of        3
DEFENDANT: ANTONIO SANCHEZ FUENTES
CASE NUMBER: 4:17CR00298-013 BSM
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
     No supervised release term imposed.




                                                    MANDATORY CONDITIONS

1.      You must not commit another federal, state or local crime.
2.      You must not unlawfully possess a controlled substance.
3.      You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
        imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               D The above drug testing condition is suspended, based on the court's determination that you
                   pose a low risk of future substance abuse. (check if applicable)
4.       • You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.       ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.       D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
             directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
             reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)
7.       D You must participate in an approved program for domestic violence. (check ifapplicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
